                            UNITED STATES DISTRICT COURT
                        FOR THE MIDDLE DISTRICT OF TENNESSEE
                               NORTHEASTERN DIVISION


 DR. JULIA GRUBER, et al.,

         Plaintiffs,                               Case No. 2:21-cv-00039

 v.                                                Chief Judge Waverly D. Crenshaw, Jr.
                                                   Magistrate Judge Alistair E. Newbern
 TENNESSEE TECH BOARD OF
 TRUSTEES, et al.,

         Defendants.


                                             ORDER

         On September 28, 2022, Plaintiffs Dr. Julia Gruber and Andrew Smith filed a motion for

summary judgment under Federal Rule of Civil Procedure 56 (Doc. No. 60.) As established by the

initial case management order (Doc. Nos. 27, 55), any response in opposition to the motion for

summary judgment must be filed within 28 days of the service of the motion. Any optional reply

shall be filed within 14 days of the service of the response.

         Any filings made related to the motion for summary judgment, including motions for

extensions of time or to exceed page limits, shall be decided by Chief Judge Crenshaw unless

referred to the undersigned Magistrate Judge.

         It is so ORDERED.



                                                      ____________________________________
                                                      ALISTAIR E. NEWBERN
                                                      United States Magistrate Judge




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